             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI

IN RE: CERNER/ORACLE DATA BREACH )
LITIGATION.                            )
______________________________________ )
REBECCA BLOUNT and                     )
CHERYL McCULLEY,                       )
                                       )
                         Plaintiffs,   )
       v.                              )       No. 25-00259-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health,     )
                                       )
                         Defendant.    )
______________________________________ )
GEOFFREY MOORE,                        )
                                       )
                         Plaintiff,    )
       v.                              )       No. 25-00281-CV-W-BP
                                       )
CERNER CORP.,                          )
                                       )
                         Defendant.    )
______________________________________ )
SHANNON MOTTLEY,                       )
                                       )
                         Plaintiff,    )
       v.                              )       No. 25-00308-CV-W-BP
                                       )
ORACLE HEALTH, f/k/a Cerner Corp.,     )
                                       )
                         Defendant.    )
_____________________________________ )
MARTHA LaPOINTE,                       )
                                       )
                         Plaintiff,    )
       v.                              )       No. 25-00313-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )




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SHANNON SMITH,                         )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00331-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
____________________________________   )
KAREN ADAMS,                           )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00345-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
FRANK HOFFMAN, JR.,                    )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00347-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
MATTHEW R. PAGE,                       )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00354-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )




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LOIS MELVIN,                           )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00368-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
____________________________________   )
JILL CARNAHAN,                         )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00370-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
BENJAMIN BEARD,                        )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00384-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
GERRI WOOLARD,                         )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00394-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )




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CARLA ROGERS,                          )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00402-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
TOMILYN VENAGLIA and                   )
JOHN VENAGLIA,                         )
                                       )
                         Plaintiffs,   )
      v.                               )       No. 25-00422-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
UNION HEALTH SYSTEM, INC.,             )
                                       )
                         Defendants.   )
_____________________________________ )
VIVIAN DAVIS,                          )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00466-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
TALLAHASSEE MEMORIAL                   )
HEALTHCARE, INC.,                      )
                                       )
                         Defendants.   )
_____________________________________ )
CHRISTOPHER SKINNER,                   )
                                       )
                         Plaintiff,    )
      v.                               )       No. 25-00476-CV-W-BP
                                       )
CERNER CORP., d/b/a Oracle Health, and )
TALLAHASSEE MEMORIAL                   )
HEALTHCARE, INC.,                      )
                                       )
                         Defendants.   )
____________________________________   )




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JAMES TAYLOR,                                      )
                                                   )
                               Plaintiff,          )
       v.                                          )           No. 25-04098-CV-C-BP
                                                   )
CERNER CORP., d/b/a Oracle Health, and             )
UNION HEALTH SYSTEM, INC.,                         )
                                                   )
                               Defendants.         )

                              ORDER CONSOLIDATING CASES

       The cases identified above share common questions of fact and law. Pursuant to Rule 42

of the Federal Rules of Civil Procedure, and following a telephone conference with the parties held

June 30, 2025, the Court deems it appropriate to consolidate them, at least for all pretrial purposes.

       All future filings shall be made only in the lowest numbered case, Case No. 25-00259-CV-

W-BP. Future filings should utilize the caption “In re: Cerner/Oracle Data Breach Litigation”

instead of listing the captions for all the cases, or the caption(s) for the case(s) to which the filing

applies. If a filing relates to only some of the cases, the filing party shall indicate the cases to

which the filing relates in the caption under the Case Number.

        On or before July 15, 2025, Plaintiffs shall file either (1) an agreed upon motion to appoint

interim lead counsel or (2) competing motions for appointment of interim lead counsel. In the

meantime, the parties are directed to continue conversations to ascertain the scope of the data

breach that is at issue. Once interim lead counsel is appointed, the Court will schedule a telephone

conference to discuss (among other things) the feasibility of, and a timeline for, filing a

Consolidated Complaint.

        The deadlines for filing Answers are stayed pending further Order of the Court.

IT IS SO ORDERED.
                                                        /s/ Beth Phillips
                                                        BETH PHILLIPS, CHIEF JUDGE
Date: June 30, 2025                                     UNITED STATES DISTRICT COURT

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